    Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 1 of 38 PageID: 1




      FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT
           UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
                        \
                                         t

                                 GlteM:, Pt!)~                                         COMPLAINT
'   (Enter above the full name of the plaintiff in this action)

                            v.                                                Civil Action No.       ---
     1"\.1\A'te 't- Sc,\ Vftz 1 R-°"t o-l                                .    (To be supplied by the Clerk of the Court)




    ~:cr~- ~\l~\~if~:t@~{_ c~~ l~, ~
    (Enter the full name of the defendant of defendants in this action)




                                             INSTRUCTIONS; READ CAREFULLY
    1.    This complaint must be legibly handwritten or typewritten, signed by
    the plaintiff and subscribed to under penalty of perjury as being true and
    correct. All questions must be answered concisely in the proper space on
    the form. Where more space is needed to answer any question, attach a
    separate sheet.
    2.    In accordance with Rule 8 of the Federal Rules of Civil Procedure, the
    complaint should contain ( 1) a short and plain statement of the grounds
    upon which the court's jurisdiction depends, (2) a short plain statement of
    the claim showing that you are entitled to relief, and (3) a demand for
    judgment for the relief which you seek.
    3.   You must provide the full name of each defendant or defendants and
    where they can be found.
    4.    You must send the original and one copy of the complaint to the Clerk
    of the District Court.· You must also send one additional copy of the
    complaint for each defe.ndant to the Clerk. Do not send the complaint
    directly to the defendants.
     ?.~   -· . . , .            ,                     -.It,~.X' .   ... '·i~fiit~t.,:i*lii~~1D1•lfi~..
             .·. . , . ,-,-,.,:J;·)_,;_;JL, ),.!,
     a~m1i!frl~'                     1
                                                  .·: , your complaint will be filed. You will be
     responsible for service of a separate summons and copy of the ·complaint on
     each defendant. See Rule 4, Federal Rule of Civil Procedure.



     DNJ-ProSe-006-ProSePrisCvRghtsCmpFrm-STANDARD-(Rev.05-2013)                                                   Pagel
...   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 2 of 38 PageID: 2




      6.    :P.f;,:¥,~.~;,~~~:~m:~t~~~ij~.~~::f6:tiJ1t~\~i:~~rw~!.~~t~~(\~, you may request permission to
      proceed in forma pauperis in accordance with the procedures set forth in
      the application to proceed in forma pauperis. See 28 U.S.C. §1915. (If
      there is more than one plaintiff, each plaintiff must separately request
      permission to proceed in forma pauperis.)

      ~~~i'ilWdf ··'~li:~,:·~1~:~ ~::~~~~!,~:!~tr::~~~~?~~~~~
                                                           1


•     copy of the summons for each defendant. The copies of summonses and the
      copies of the complaint which you have submitted will be forwarded by the
      Clerk to the United States Marshal, who is responsible for service. The
      Marshal has USM-285 forms you must complete so that the Marshal can
      locate and serve each defendant. If the forms are sent to you, you must
      complete them in full and return the forms to the Marshal.


                                       QUESTIONS TO BE ANSWERED

      la.     Jurisdiction is asserted pursuant to (CHECK ONE)

               ../ 42 U.S.C. §1983 (applies to state prisoners)

                       Bivens v. Six Unknown Named Agents of Fed. Bureau of
•                      Narcotics, 403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies
                       to federal prisoners)

              If you want to assert jurisdiction under different or additional
              statutes, list these below:



      lb.     Indicate whether you are a prisoner or other confined person as
              follows:

                   Pretrial detainee

              _ Civilly-committed detainee

              _ Immigration detainee

            '/.....Convicted and sentenced state prisoner

              _ Convicted and sentenced federal prisoner
              _Other: (please explain) _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


      DNJ-ProSe-006-ProSePrisCvRghtsCmpFrm-STANDARD-(Rev.05-2013)                                   Page2
 .
..   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 3 of 38 PageID: 3




     2.      Previously Dismissed Federal Civil Actions or Appeals

             If you are proceeding in forma pauperis, list each civil action or appeal
             you have brought in a federal court while you were incarcerated or
             detained in any facility, that was dismissed as frivolous or malicious, or
             for failure to state a claim upon which relief may be granted. Please
             note that a prisoner who has on three or more prior occasions, while

'            detained in any facility, brought an action or appeal in a federal court
             that was dismissed as frivolous or malicious, or for failure to state a
             claim upon which relief may be granted, will be denied in forma
             pauperis status unless that prisoner is under imminent danger of
             serious physical injury. See 28 U.S.C. § 1915(g).

     a.      Parties to previous lawsuit:




             Defendant(s) =------+-------~---...------




     c.      Grounds for dismissal: ( )                  frivolous   ( ) malicious

                                                 ( )     failure to state a claim upon which relief
                                                         may be granted

     d.      Approximate date-of filing l a w s u i t = - - - - - - - - - - - - - -
     e.      Approximate date of disposition: _ _ _ _ _ _ _ _ _ _ _ _ _ __

             If there is more than one Civil action or appeal, describe the additional
             civil actions or appeals using this same format on separate sheets.

 •   3.      Place of Present Confinement?                  So1i\b   W aad.s    SJ~ ~tlS ob
     4.      Parties

             (In item (a) below, place your name in the first blank and place your
             present address in the second blank. Do the same for additional
             Plaintiffs, if any.)           \         ,\
             a.       Name of plaintiff:          DO\\tlU S G;[erw,.,{
     DNJ-ProSe-006-ProSePrisCvRghtsCmpFnn-STANDARD-(Rev.05-2013)                               Page 3
--    Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 4 of 38 PageID: 4




      5.      I previously have sought informal or formal relief from the appropriate
              administrative officials regarding the acts complained of in the
              Statement of Claims on page 6.

             ~Yes               _No

              If your answer is "Yes," briefly describe the steps taken, including how
              relief was sought, from whom you sought relief, and the results.


              ~"'\~~ ~~ ~t'    ~3 t/:/~1
                        !'= D°'-SeI
             e.,,.:i;'=~~OW\&       t°'~i
              If your answer is "No," briefly explain why administrative remedies
              were not exhausted.




      6.      Statement of Claims

              (State here as briefly as possible the facts of your case. Describe how
              each defendant violated your rights, giving dates and places. If you do
              not specify how each defendant violated your rights and the date(s)
              and place of the violations, your complaint may be. dismissed. Include
              also the names of other persons who are involved, including dates and
              places. Do not give any legal arguments or cite any cases or statutes ..
              If you intend to allege a number of related claims, number and set
              forth each claim in a separate paragraph. Use as much space as you
              need. Attach a separate sheet if necessary.)
..,
                  '   \ ~~               e           '" C l °' \'   ' ;. ~



      DNJ-ProSe-006-ProSePrisCvRghtsCmpFrm-STANDARD-(Rev.05-2013)                 Pages
..       Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 5 of 38 PageID: 5




         8.      Do you request a jury or non-jury trial? (Check only one)

                                 )\J Jury Trial ( ) Non-Jury Trial

         I declare under penalty of perjury that the foregoing is true and correct.



         Signed this     3L_ day of J&W.Jo.'rj                         I       ci_
                                                                           20_1_




                                                    Signature of plaintiff*



         (*EACH PLAINTIFF NAMED IN THE COMPLAINT MUST SIGN THE COMPLAINT
         HERE. ADD ADDITIONAL LINES IF THERE IS MORE THAN ONE PLAINTIFF.
         REMEMBER, EACH PLAINTIFF MUST SIGN THE COMPLAINT).




         DNJ-ProSe-006-ProSePrisCvRghtsCmpFrm-STANDARD-(Rev.05-2013)                  Page7

     •
...   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 6 of 38 PageID: 6



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



      Darius Gittens, Pro se,
                                Plaintiff
                       v.
      MILDRED SCHOLTZ, individually and
      officially as Warden of Burlington
      County, New Jersey Adult Detention
      Facility; CAPTAINS MATTHEW LEITH
      and W. MCDONNELL and J. LARKINS,
      ea~h individually and officially
      in Burlington County, New Jersey
      Adult Detention Facility; T. BLANGO
      and P. BLANGO, exact twin brothers.
      Lieutenants, each individually and
      officially in Burlington County,
      New Jersey Adult Detention Facility;                42 USC 1983
      BURLINGTON COUNTY, NEW JERSEY BOARD                 Complaint
      OF CHOSEN FREEHOLDERS, each                         Docket #
      individually and officially; MARY                            ------
      ANN O'BRIEN, BRUCE GARGINO, AIMEE
      BEIGARD, JOSEPH DONNELLY, JOANNE
      SCHWARTZ; and the NEW JERSEY
      DEPARTMENT OF CORRECTIONS GARY
      LANIGAN, COMMISSIONER; MARCUS
      HICKS, DIRECTOR OF OFFICE OF COUNTY
      SERVICES; DARCELLA SESSOMES,
      ASSISTANT COMMISSIONER, DIVISION OF
      PROGRAMS AND COMMUNITY SERVICES;
      CORRECTION OFFICER T. CASE AND
      UNKNOWN EMPLOYEE; officially and
      ind i viduallY)
                                  Defendants



                                    Jurisdiction
           This is a Civil Action authorized by 42 U.S.C. section
      1983, to redress the deprivation, under color of state law,
      of rights secured by the Constitution of the United States.
      This court has jurisdiction under 28 U.S.C. section 1331 and
      1343 (a)(3). Plaintiff seeks Declaritory Relief pursuant to
      28 U.S.C. section 2201 and 2202. Plaintiff's claims for
      Injunctive Relief are authorized by 28 U.S.C. section 2283 and
      2284 and Rule 65 of the Federal Rules of Civil Procedure.
                                            1
      Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 7 of 38 PageID: 7

-..
      Additional jurisd~ction is 42 U.S.C. 1997e (e) and Americans
      with Disabilities Act 29 U.S.C. 794, 42 U.S.C. section
      12101-12213 and Pendant New Jersey Statues and Constitution.


                                        Venue

            1. The United States District Court, District of New Jersey
      is an appropriate venue under 28 U.S.C. section 1391 (b) (2)
      because it is where the events giving rise to these claims
      occurred.

                                       Parties

            2. Plaintiff Darius Gittens, was at all times mentioned
      herein concerning Burlington County Detention Center, a detainee
      confined within that "Jail" and at all times mentioned herein
      concerning (receipt) of O.P.R.A. documents; and filing grievances
      concerning D.O.C. transport officer (T. Case), was an inmate
      under the control of defendant Gary Lanigan in his prison(s)
      at all times in the State of New Jersey, Department of
      Corrections.

            3. Defendant Mildred Scholtz, is the Administrator (Warden)
      of the Burlington County Adult Detention Center located in Mount
      Holly, New Jersey and she is legally responsible for said
      detention center, and the welfare, conditions of confinement
      over detainees at that center, and at all times relevant to
      that "jail" she was the administrator thereof.

            4. Defendants, Matthew Leith, McDonnell, and J. Larkins,
      are all Burlington County Adult Detention Center employees w~th
      the rank of Captain, and at all times mentioned in these
      complaint were so employed. They control every aspect of welfare
      and conditions of confinement at the "jail".

            S. Defendants, twin brothers, T. Blanga and P. Blango,
      are all Burlington County Adult Detention Center employees with
      the rank of Lieutenant, and at all times mentioned in this
      complaint were so employed. They work directly with Captains
      Leith, McDonnell and Larkins, and control every aspect of welfare
      and conditions of confinement at the "jail."

            6. Defendants, Burlington County, New Jersey Board of
      Chosen Freeholders, Mary Anne O'Brien, Bruce Garganio, Aimee
      Beigard, Joseph Donelly and Joanne Schwartz, were at all times
      mentioned in this complaint seated and responsible for the upkeep
      and conditions of confinement and the welfare of all detainees
      held at the "Jail", A/K/A "Burlington County Adult Detention
      Center."

            7. Defendant, Gary M. Lanigan, is and was at all times
      mentioned in this complaint the Commissioner of the New Jersey
                                      2
  .
·"'   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 8 of 38 PageID: 8



      Department of Corrections and responsible for overseeing all
      prisons and detention centers in the State of New Jersey. He
      is responsible for the conditions of confinement and or oversight
      of such conditions at all prisons and detention centers-
      " jail"-at Mount Holly, New Jersey

            8. Defendant, Marcus Hicks, Director of office of county
      services is and was at all times mentioned in this complaint
      responsible for oversight, inspection, reinspections and
      statutory compliance of regulations that statutory law mandates
      are followed at each detention center, and Burlington County
      Adult Detention Center, "jail". His employment is at Central
      Office, New Jersey Department of Corrections, working directly
      (with) and (under) defendants Lanigan, and Sessomes.

            9. Defendant, Darcella Sessomes, Assistant Commissioner,
      Division of Programs and Family Services, is and was at all
      times mentioned in this complaint responsible for oversight
      of "Office of County Services", and all inspections,
      reinspections and conditions of confinement as is defendant
      Hicks, over the Burlington County Adult Detention Center "jail".
      Her employment is under the control and at Central Office, New
      Jersey Department of Corrections working directly with and under
      defendant Lanigan.

           10. Defendant, T. Case, is and was at all times mentioned
      in this complaint a corrections officer employed by New jersey,
      Department of Corrections transportation unit and was assigned
      with a fellow (Name unknown) corrections officer to transport
      defendant from Burlington County Adult Detention Center on
      11/16/2016 at approximately 9:15am to transport the plaintiff
      to C.R.A.F. prison, and is the person who forces plaintiff to
      leave all legal materials at the Burlington County Adult
      Detention Center on said date, 11/16/2016, without any procedural
      or substantive due process of law and against United States
      Supreme Court Proscriptions and mandates.

           11. Defendant, unknown, who defendant T. Case called on
      cell phone at approx. 9:1Sam on 11/16/2016, is believed to be
      in a supervisory position over defendant T. Case; upon
      information and belief, is involved in a conspiracy with
      defendant T. Case and or other unknown persons to refuse to
      allow legal materials to remain with inmates transferred from
      all county jails to C.R.A.F. and did the same ongoing refusal
      to transport inmates legal materials to plaintiff.

           12. Each defendant is sued in his or her officail capacity
      and individually and they did at all times mentioned in the
      complint act under color of law of the State of New Jersey,
      in direct violation of statutory and constitutional laws and
      civil rights laws of the State of New Jersey while they were
      acting under color of such law.

                                           3
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 9 of 38 PageID: 9



                                 Prologue

     13. This complaint will address unlawful and
constitutionally volitive conditions and confinement while at
the Burlington County, New Jersey, Adult Detention Facility.
Contextural background parameters now follow for an
understanding, albeit brief, of the relevant history that
underpins this instant lawsuit.

     14. Contemporary standards of decency is the foundation
that our law makers rely upon in the criminal justice system
when fostering regulations that create conditions of confinement
that are moral, lawful and constitutionally appropriate when
confining persons in adult detention facilities and prisons.

      15. These standards of decency are the product of 145 years
of criminal justice refinement by legislatures, judicial decree
and correctional associations. Wardens, superintendents,
sheriffs, commissioners, sociologists. psychiatrists; and law
makers from commissions that have all together made the American
Correctional Association (A.C.A.). When building (planning),
staffing and regulating Adult County Detention Centers. the
A.C.A. is the place to find most every answer.

      16. Standards for adult correctional institutions 3rd and
4th editions set forth evolved and constitutionally acceptable
standards. They were developed in 1974 and slightly modified
in 1996. This slight modification was called "performance
standards". In order to monitor compliance of each area of
performance a facility after being vetted was then Accredited
if that facility opted for being accredited.
                                    .                                    '

     17. The American Association manual of Accreditation Policy
and Procedure, developed in 1979, evolved to require "performance
standards" to monitor facilities that have been Accredited.
These performance standards require each facility to maintain
actual "performance" going forward once such facility has been
certified "Accredited", performance must be continuing compliance
to the standards cited Supra.

     18. In 1976, New Jersey Legislature created "New Jersey
Department of Corrections Act" whereby the Commissioner of
Corrections would oversee promulgation of rules and regulations
for county Adult Detention Facilities and Prisons, N.J.S.A.
30:Bl-1-24. These rules and regulations were N.J.A.C. lOA and
10A:31. These provide for conditions of confinement that are
legal and constitutional, (and at all times mentioned herein),
well settled.

     19. In 1989, the current Burlington County Adult Detention
Facility was built, following a series of ongoing civil rights
complaints against defendants for illegal and unconstitutional
conditions of confinement at the former facility caused by
                                        4
-.   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 10 of 38 PageID: 10



     overcrowding became moot with      thi~    new facility.

           20. The new facility was designed for 168 single cells
     in 1989. Then in 1995, a second "bunk" added additional 168
     detainees, 2 per cell which was 48 square feet of unericumbered
     floor space. N.J.A.C.   10A:31 requires a "minimum of 25 square
     feet per detainee of unencumbered floor space. Then around 2000
     defendants (predecessors) and current defendants forced a third
     detainee into a single cell, each and every day 20-21 1/2 hours
     each day, where each detainee had only 8 square feet of
     unencumbered floor area. These conditions had a snowball effect
     on every aspect of day to day conditions of confinement at the
     facility; conditions such as no bedding exchange. violence,
     cold showers, no grievances, no grievance processing, no problem
     resolution of any kind, legal mail diverted, filthy cells, no
     cleaning of cells, mice in kitchen, food intentionally prepared
     that was unfit to eat, black mold in showers, shower roof
     falling, roof flooding areas of facility, intentional withholding
     of basic clothing, bedding, not classifying mentally ill
     detainees, etc., are some of the conditions this complaint will
     address, defendants have acted as if they are not subject to
     established rule of law, or consequences for violating it.

          21. Plaintiff was forced to live for 333 days in the
     Burlington County Adult Detention Facility in a cell with 2
     other detainees for  20-21 1/2 hours each day under illegal
     and unconstitutional conditions of confinement and every
     complaint made by plairitif f and other detainees were never
     respond~d to. This complaint now follows:


                                        FACTS

          22. Now comes the plaintiff, Darius Gittens, who is
     currently pro se, and does here to fore swear and certify this
     entire complaint from its first trough to its last paragraph
     to be true and correct to his own personal knowledge, unless
     stated "upon information and belief", and if so stated as to
     these/those if any, are true and correct upon his reasonable
     belief so qualified.

          23. On 12/16/2015, plaintiff was ordered detained in the
     Burlington County Adult Detention Facility (hereinafter called
     "jail") to await trial for 3rd degree burglary and theft offenses
     and sentencing for same.

          24. Upon entering jail plaintiff was required to trade
     clothing whereupon he received only some of the mandatory minimum
     clothing and bedding required, N.J.A.C. 10A:31 (herein after
     called "required").

           25. Of the required issue plaintiff was given sheets, towel,
      2 uniforms (orange), and pillow case. Not given was pillow,
      rule book, underware that were required.
                                      5
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 11 of 38 PageID: 11



      26. Thereaf~er on 12/16/2015, plaintiff was ~een by a nurse
 at a medical screening upon intake and informed nurse that he
 had chronic conditions, destroyed knees and destroyed shoulders
 that were preoperative and being treated presently for extreme
 chronic pain.

      27. Plaintiff gave this intake nurse full medical history
 with full medication history, based on plaintiff's medical
 conditions he had been disabled and was on social security SSI
 since 3/19/2014.

      28. Plaintiff asked if his medical records held by Social
 Security and' Gate Keeper insurer Amerigroup would be ordered
 and was told that Defendant Scholtz and defendants chosen
 freeholders expressly prohibit accessing medical records of
 pre-existing conditions.

      29. Plaintiff insisted on receiving a medical pass or other
 medical authorization placing him in a cell that had a bottom
 bunk and located so he would not have to climb any avoidable
 stairs climbing or climb to a top bunk. He was told that
 Defendant's Larkins or McDonnell were the only employees at
 jail who could authorize a medical cell placement.

      30. On 12/17/2015, plaintiff informed defendant Larkins
 at classification what the intake nurse said he said we have
 3 inmates in each cell and make no special cell placements for
 any one.

     31. Plaintiff remonstrated to defendant Larkins that he
could not climb to top bunk or climb stairs due to disability
in knees and shoulders and chronic pain climbing a top bunk
would cause.

      32. Defendant Larkins assigned plaintiff to E unit, cell
 209, where he was forced into a cell to a mattress on the floor
 since cell had 2 detainees in top and bottom bunk already.

      33. Plaintiff was forced to sleep on floor mattress that
 was 9 inches from toilet bowel.

      34. Plaintiff had urination on his sheets, blanket and
 his legs by careless cell mates.

      35. Plaintiff upon flopping down to floor mattress would
 on rising have to slither and squirm to stand up. This activity
 caused extreme physical pain that was the most extreme pain
 that he had ever experienced since suffering the injuries that
 caused his disability. This pain in both shoulders and knees
 made it unbearable pain to raise and lay.

      36. Plaintiff suffered everyday in great pain and
 continually begged defendants Larkins, McDonnell, T. Blanga,
                                      6
.   Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 12 of 38 PageID: 12
-


    P. Blango and even defendant Scholtz: all these continual begging
    was done in person and continually begged to be placed in a
    cell on the bottom bunk. Each request was denied.

         37. Plaintiff on the day he came into jail was on prescribed
    pain management of Sx30mg Oxicodone, 2x10mg Methadone and 3xl00mg
    of Neurontin, each day and had been on this medication for
    extreme chronic pain for 8 years; extensive MRI's and X-rays
    show why.

         38. The only pain medication Defendant Scholtz allowed
    medical subcontractors to give Plaintiff was Neurontin 2x300mg
    per day and Ibuprofen 400mg.

         39. Plaintiff saw many horrific conditions of, confinement
    and after asking other detainees questions about these conditions
    and who or how to complain started keeping a log book of the
    day to day constitutionally volitive conditions of confinement
    and which jail employees were responsible for failing to correct
    them. Specific dates will follow infra.

         40. Plaintiff had no extra clothing materials that could
    be utilized to stuff the pillow case that he was given so that
    he as forced to sleep on a mattress that was (I) inch thick
    with no pillow for 333 days.

         41. Not having a pillow additionally caused pain and
    inability to properly sleep that was additional pain and
    sleeplessness that was separate and distinct from (expected)
    discomfort of condition of confinement a detainee would feel
    who had access to the pillow; illegally denied plaintiff.

         42. In addition to Plaintiff's pre-existing knee and
    shoulder condition was a neck condition and lumbar condition
    that caused its own separate pain, not to be confused with
    destroyed rotator cuffs chronic pain. Pain causing additional
    sleep loss.

         43. When Plaintiff has access to a pillow, his neck and
    shoulders are able to be positioned to allow sleep and pain
    levels that allow sleep.

         44. Plaintiff begged in person and or writing to Defendants
    Larkins, McDonnell, Scholtz, T. Blango, P. Blango, Freeholders
    and Lanigan for a pillow to put in the issued pillow case and
    was ignored, specific dates (from logs) will follow infra.

          45. Plaintiff in each begging made orally in person or
    in writing explained the additional physical pain not having
    a pillow was causing; these qualified complaints were all
    ignored. Specific dates (from logs) will follow infra.

          46. After being in the jail 333 days Plaintiff carefully
                                          7
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 13 of 38 PageID: 13



noted each volitive condition of confinement that occurred,
everyday about 90% of the time, unless qualified differently
in this complaint; a clear pattern of these conditions is listed
thereto below:


         1) 3 detainees per cell designed for 1, 2 in bunk beds,
            1 on floor, 20-21 1/2 hours per day
         2) cells kept extremely cold, approximately 58 degrees
         3) only 1 working shower 50-60 degrees October-February
         4) boiler(s) not maintained and broken for years
         5) multiple areas of systemic roof flooding
         6) no cell clean up, no cell cleaning supplies
         7) no bedding exchange, no washing bedding
         8) kitchen infested with mice and droppings
         9) mice coming inside cells every night
        10) no mail box for outgoing legal mail
        11) no mail box for complaints or grievances
        12) no grievance forms given
        13) no grievance forms processed
        14) outgoing complaints, mail being diverted
        15) only 1 hour per week law library being canceled
        16) control #1 systematically diverting mail
        17) cold food being served about 5 days per week
        18) food intentionally under/over cooked
        19) food not fit to eat with no slat/spices
        20) no pillows, or underwear provided
        21) cells filthy with mice droppings and roaches
        22) cells having· a foul smell by toilet
        23) no shaving equipment most of the time
        24) no pens, paper, or envelopes to write given
        25) approximately 2 days per week milk spoiled
        26) staged cleanups for D.O.C. inspections
        27) D.O.C. inspe~tors never inspecting cells
        28) not separating violent/mentally disturbed
        29) disciplinary housing unit not following its rules
        30) no pest control

     47. On 12/21/2015, defendant Scholtz, came to E housing
unit. When she reached plaintiff's cell (#209) she was with
one of the "Blanga Twins". I asked her to stop and speak with
me; she did so.

     48. I asked at that time, Defendant Blanga and Scholtz
to look at me on floor and asked her why as she allowing me
to be forced to sleep by toilet on the floor with no room to
move around and that I was disabled and in great deal of pain.
She told me to write her about my complaints. Date:l2/21/2015.

     49. I also asked for "extended law library access" she
looked at defendant Blanga and told him "give him extended
access". She then walked off. That was the last time she came
to E unit while I was there. Date:21/21/2015.
                                     8
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 14 of 38 PageID: 14



      50. On 12/21/2015, I wrote defendant Scholtz describing
my disabilities and the pain sleeping on floor and without a
pillow was causing my neck and shoulderso I mailed the 3 page
letter in a manilla envelope (paper,       pen and envelope loaned
to me by a detainee).

      51. I mailed that envelope by hariding it to officer passing
by he said he would take it to control #1 and put it in Defendant
Scholtz's box. She never responded. This was on 12/21/2015.

     52. On 12/28/2015, at 8:15pm, social worker called "Vallery"
was on E unit. At that time plaintiff explained how much pain
and how much mental stress being forced to live with 2 other
detainees with no room to exercise or even move around my cell
more than 18 hours each day. She agreed to mail 3 letters in
defendant Larkin's "Captain's Box".

     53. Plaintiff handed Vallery 4 page detailed letter on
14 inch paper complaining of his conditions of confinement
causing extreme pain, loss of sleep and mental stress. This
letter was dated 12/28/2015. Also sent with this letter was
letter 1 page on 14 inch paper requesting grievance forms (since
all officers refused to give any grievance forms out) and the
3rd letter 1 page on 14 inch paper complained about my letter
to defendant Scholtz was never answered and why was there (no
mail box).

     54. On 12/29/2015, defendant Larkins called plaintiff down
to officers desk by stairs under direct view of (E-100) camera
and before fellow correction employees Sgt. Benet and Officer
"Mack" and made  violent gesture with his right hand crushing
and wadding paper. He then stated "I have your letters, I don't
read this shit, it's a waste of time what do you want." Plaintiff
explained cold water showers, no grievances, sleeping on floor
in great pain. He looked at one of the employees and said get
him grievances and Sgt. Benet stated "I am not calling
maintenance to fix the hot water you need to call your
congressman and contact county freeholders, ask them to fix
the hot water." Plaintiff was told to go.

     SS. Plaintiff contacted his family and Ms. Lacovaro and
Attorney Anthony Aldorasi, complaining of great pain and mental
anguish/stress being forced to sleep on floor in filthy smelly
cell that had piss and dirt, etc. Ms. Lacovaro was told to
contact (Lieutenant Finklea), who instructed plaintiff to contact
defendant McDonnell with any complaints. Which plaintiff does
infra.

     56. Plaintiff after writing over 18 separate complaints
(on all sorts of borrowed paper and pen) that defendant Scholtz
never responded to, wrote a 13 page letter to Captain (defendant)
McDonnell with 2 page cover letter and Defendant Scholtz with
2 page cover letter and copy of letter to defendant McDonnell
                                      9
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 15 of 38 PageID: 15



 attached; all written 12/31/2015.

      57. These complaints were very explicit in descrihing the
 constitutionally volitive conditions of confinement. Plaintiff
 and other detainees were suffering from.

      58. Also, 2 separate signed petitions that described the
 conditions of confinement suffered by plaintiff and the other
 detainees were sent to Defendants Scholtz and McDonnell and
 handed to Attorney Anthony Aldorasi, he also forwarded these
 complaints/ petitions no answer by any defendants were received.

      59. Then one night on 2/1/2016, defendant McDonnell stopped
 by plaintiff's cell, cell 209 and handed him 2 blank grievance
 forms. All this is recorded on camera (R-200).

      60. Note worthy here is that all areas are under a million
 dollar digital computerized state of the art camera system with
 voice and visual recording hardware and software; thus all times.
 Dates plaintiff mentioned in this complaint are all recorded
 with tamper  proof remote storage. The court and jury will have
 objective proof beyond log books and testimony that will show
 horrific conditions of confinement alleged in this complaint.

      61. Plaintiff made copies of the grievances. 150 were made
 and he handed over 120 out to detainees to file grievances.

      62. Plaintiff filed 6 separate grievances on the conditions
 of confinement, and on legal visit by public defender Karin
 Thek. They were smuggled out of jail for copying and forwarding
 to Attorney Anthony Aldorasi who then forwarded them to
 Defendants Scholtz and McDonnell, then mailed back to plaintiff
 he then mailed them to Defendants Scholtz and McDonnell.

      63. A description of each of the 6 grievances are listed
 hereto:

             1) Grievance #1 dated 2/2/2016. Form with 9 attached
                  pages. Addressed Grievance matters. Violated statute
                  10A:31-14.5. Violated A.C.A. standard's 4-4284.

             2)   Gr~evance #2 dated 2/4/2016. Form with 3 attached
                  pages addressed plaintiff's specific suffering
                  being forcedto sleep on floor with 2 detainees
                  in bunk beds. violated statute 10A:31-3.6
                  (b),(c),(g) and (i). Violated A.C.A. standard's
                  4-4132.

             3) Grievance #3 dated 2/4/ 2016. Form w~th 4 attached
                pages addressed being forced to shower in ice cold
                water or forego hygiene. Statue violated
                10A:31-3.7(a), violated A.C.A. standard's 4-4139.

                                      10
    Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 16 of 38 PageID: 16




                4) Grievance #4 dated 2/4/2016. Form with 2 attached
                   pages addressed deprivation of general
                   library/reading material. Violated statute
                   10A:31-26.5 (a),(b),(c) and (d). Violated A.C.A.
                   standard's 4-4505.

                5. Grievance #5 dated 2/6/2016. Form with 4 attached
                   pages addressed jail food/nutrition. Violated
                   statute 10A:31 subchapter 10. Violated A.C.A.
                   standard's 4-4316, 4-4317 and 4-4318.

                6) Grievance #6 dated 2/8/2016. Form with 4 attached
                   pages addressed law library access denial. Violated
                   statute 10A:31-15.1, 2 and 3. Violated A.C.A.
                   standards 4-4276.

         64. Plaintiff became very angry and distraught with
    increasing intensity over the span of the 333 days he was forced
    to live in a cell that he could not physically move around in.
    Physical pain and mental pain acted together with all the
    volitive conditions of confinement, was a punishment he had
    never suffered before.

•         65. Plaintiff has spent over 15 years in many prison and
     many jails and never experienced such physical pain as described
     supra.

          66. Plaintiff at time of writing this complaint 9/27/2017,
     is in a cell with another prisoner with 48 square feet
     unencumbered floor space and sitting on bottom bunk with little
     pain physically and no mental pain. This prison S.W.S.P. complies
     with A.C.A. standards.

          67. Plaintiff has a medical "bottom bunk" authorization'
     that means I sit down at an 18 inch height and roll into and
     out of my bed without pain. No slithering or squirming.

          68. Plaintiff is in prison convicted and being severely
     punished, his sentence is 8-17 years. None of this punishment
     causes physical pain or anger or a distraught m~nd. A.C.A.
     standards are followed.

          69. Plaintiff has no roaches, mice, room to move, can clean
     cell, has sheets washed, has a pillow has good food, hot shower,
     access to grievances, complaints, access to administration,
     access to law library, no piss being sprayed on him, cell temp
     regulated, 2 detainees per cell/ This is lawful detention. No
     vomit smells in cell.

          70. Additional facts that support specific patterns of
     misfeasance and malfeasance in the forms of documents mailed
     to defendants are identified as follows:
                                     11
    Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 17 of 38 PageID: 17



                A. 13 Pages sent to Warden (defendant) Scholtz
                   describing specific illegal treatment dated
                   2/1/2016, mailed as all other "mail" by.handing
                   to E unit officer; in this case these documents
                   were handed to Officer McMillan-at 3:37pm on
                   2/3/2016-who stated she was bringing directly
                   to Control #1 for placement in the Administrator's
                   box. (Administrator is the same as warden). These
                   documents consisted of 3 page letter 9:40am, I
                   page emergency letter 2:04pm, 1 page preamble letter
                   4:10pm and 5 other pages. These were shown to camera
                   on 2/1/2016, no answer

                B. 4 page letter to Sgt. Davis, dated 3/1/2016, 6pm-6am
                   supervision with 2 page affidavit by inmate Don
                   Cortes, ID#l06101 dated 2/26/2016. These concern
                   loss of most of plaintiff's personal propeity by
                   Officer Wagner on 2/11/2016. This was handed to
                   Sgt. Davis, no answer.

                C. 8 page emergency petition signed by 35 of the 54
                   inmates concerning food. This was dated, signed
                   and was mailed 4/11/2016. No answer.

         71. On 2/11/ 2016, defendant McDonnell retaliated by issuing
•   a (specious) disciplinary report that he used to access my copies
    of complaints and logs, while placing me into punitive
    segregation. C Unit cell 204.

         72. As soon as defendant McDonnell had placed the handcuffs
    on me he stated "your annoying me with your complaints", then
    he took me to "C" unit into pre hearing confinement across the
    hall in the disciplinary unit.

         73. I was not allowed a council substitute to review
    evidence (recording of E-100 camera 2/1/2016; and 2/11/2016
    recording of E200 camera 4:55-S:lOpm) and to interview witnesses
    that overheard the conversation between me and McDonnell
    2/01/2016, in violation of substantive procedural due process,
    N.J.A.C. 10A:31-16.12(g). I was unable to collect and present
    evidence.

         74. The hearing officer is P. Blango. The twin brother
    of T. Blango, who claimed to witness incident in initial report
    it is unethical to sit on hearing where brother claims to be
    witness. This violates N.J. ethics law.

         75. The disciplinary report states: "the inmate was blocking
    the E-200 reat camera with papers"

         76. Plaintiff was denied right to call any witnesses no
    reason given he asked for defendant McDonnell, social worker
    Vallery and inmates in 109 cell in violation of Due process
                                    12

•
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 18 of 38 PageID: 18



 and statute N.J.A.C. 10A:31-16.12(h).

      77. When plaintiff was brought to the hearing he had
 documents to produce that he wanted to place in evidence for
 consideration by hearing officer. He was brought in shackles
 and hand cuffs in full view of camera he asked to present
 documents and was then flanked by 2 officers who pressed their
 bodies right up to each side of plaintiff they said you can't
 have any documents placed in the record. -

       78. Plaintiff denied the charge, he stated that he never
 blocked any camera and wanted his witnesses and that film be
 reviewed by "council substitute" and defendant P. Blango said
 we don't allow witnesses and plaintiff pointed out that he just
 saw defendant McDonnell in next office on duty but was told
 to shut up.

      79. There after plaintiff was brought back to his·pre
 hearing confinement cell C-204 and then received paper that
 stated he was guilty. A review of form 259-A, revised 7/98 part
 1 entitled (Burlington County Corrections Adjudication of
 disciplinary charges) states at paragraph 12 the following:

      80. "On Feb. 1, 2016, inmate was told not to put papers
 up to block [to] camera. On Feb 11, 2016, inmate was observed
 putting papers back up to lock the camera at the E200"

      81. The only evidence shown to the plaintiff was described.
 in 75 Supra, so what "alleged" evidence was relied upon by
 Defendant P. Blanga as descried in paragraph 80 supra? Plaintiff
 was never allowed documents or witnesses and no witnesses or
 documents were ever in the 10 minute hearing. Clearly plaintiff's
 rights were...  utterly violated. N.J.A.C. 10A:31-16.14(a) 3,4
 and 5.

      82. Plaintiff appealed the illegal decision pursuant
 10A:31-16.(b) and received a pro forma response by defendant
 Matthew Leith on 2/24/2016 that he alleged to have rendered
 2/20/2016.

      83. Plaintiff perfected a notice of appeal original and
 4 copies and mailed to New Jersey Superior Court Appellate
 Division, on 2/24/2016. No answer ever was received from court.

      84. Plaintiff also submitted O.P.R.A. requests to defendant
 Scholtz for copies of N.J.A.C. lOA: 31-3.6 (h),(c),(g) and (i)
 exemptions (forms 31-100) for years 1989-2016, he submitted
 these O.P.R.A., requests 2/28/2016. No answer was received.

      85. Plaintiff received 15 days punishment based upon
 defendant McDonnell's 2/11/2016 misbehavior report.

       86. While Plaintiff was punished for 15 days he was further
                                 13
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 19 of 38 PageID: 19



 punished even beyond what is allowable under any circumtance
 that does not involve an emergency.

     87. Plaintiff was illegally punished by not allowing him,
any exercise outside of cell required by statute N.J.A.C.
10A:31-17.8, and well settled constitutional case law.

      88. Additionally Plaintiff was not allowed any clean
 exchange of clothing or sheets, and denied all access to law
 library access and general reading books.

     89. On 2/17/2016 3 boxes and an envelope was brought to
my tell in C unit, cell 204. These boxes/envelope came from
my attorney Levi Huebner. This was about 20 inches of law work.

      90. On 2/20/2016, officer Wells ordered me from cell 204
 and I was handcuffed with my face pushed to the wall outside
 my cell. About 5 seconds later. A huge gush of water was flowing
 from my cell. All my legal work was drowned. This was no
·accident, it was intended to destroy all my legal work. I was
 placed in cell 205.

      91. An attempt to punish me for the intentional flooding
 of my cell was done when I received a disciplinary report for
 breaking the fire sprinkler.

      92. Officer Wells wrote me up for setting off the fire
 sprinkler that he intentionally set off. But a different hearing
 officer, on 2/22/2016, dismissed the charge. The fire department
 came into the facility. They saw my legal work totally flooded
 as did Officers E. Cleary, Walsh, Sergeant P. Morris, and Officer
 Davis.

      93. While still in punishment, I was called down to social
 worker emergency for incoming phone from Elsie Sanchez, to tell
 me my fiancee Patricia Lacovara had died. The same day defendant
 placed me in pre-hearing confinement, 2/11/2016.
      94. I forgot to mention that the 3 boxes of legal mail
 referred to supra as "priority mail" tracking # 2308 0440 0000
 0518 (9165), and (9516) and 9523 +4th item a Fed Express
 tracking # as EI522197745 US; these tracing #'s prove when these
 boxes of legal mail and envelope of legal mail were received
 by plaintiff.

      95. At this point, it should be noted that the only
 enjoyment was listening to radio station NPR with the radio
 that as sent to me only a few weeks prior to having Officer
 Wagner without due process seize it, never to return it as
 indicated in paragraph 70(b) supra.

      96. The conditions of confinement at the jail caused
 plaintiff great fear for his safety as it became common knowledge
                                 14
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 20 of 38 PageID: 20


 E unit was used to house violent gang members from the Bloods,
 especially from Glouster County.

      97. On 3/18/2016, at approximately 7:30pm (in the (I Unit)
 were the walls are painted dark blue/gray to create depression)
 a detainee unclassified-committed suicide. Defendant Scholtz
 issued standing orders, that hid from news media all mention
 of suicide. This created a great deal of fear and anxiety within
 plaintiff.

      98. Defendant Leith was personally advised by the plaintiff
 about his particular medical problems and pain by being forced
 to sleep on the floor. Plaintiff asked him to look into cell
 204 to see how dirty it as and how nauseating the smell of old
 and new vomit was, but refused to take any action. This meeting
 occurred in March 2016.

      99. During 333 days plaintiff saw defendants many many
 times and each time he complained in specific intelligent manner
 that made his specific conditions of confinement well known
 to them. They took no action to stop plaintiff's volitive
 conditions of confinement.

     100. Please note that the digital camera system at the jail
 was maintained by "information technology communications
 division".

      101. On 8/3/2016, Defendant McDonnell came by plaintiff's
 cell £-204 and plaintiff asked him why he still had 3 in his
 cell when cell 201 anrl 208 had only 1 detainee in a cell, he
 said, "because you like to write complaints." This was at 8:40pm.

      102. Plaintiff wrote letters to Attorney General,
 Freeholders, Burlington County Times newspaper and defendants
 Lanigan, Sessomes, and Hicks complaining of the conditions of
 confinement and never received any reply.

       103. Through direct personal experience and through direct
 personal face to face communication that plaintiff had, he has
 a list of jail correction officers who have stated knowledge
 of the culture of lies and cover up and greed that has
 contributed to plaintiff's and other detainees unnecessary
 conditions of confinement these corrections officers have stated
 to plaintiff that they will be available to testify at civil
 rights trial for plaintiff and pretrial depositions concerning
 jail.

      104. Plaintiff has extensively researched all the facts
 and law and through this he learned that the jail was coloring
 and or upon information and belief out right falsifying official
 jail documents to central office of the New Jersey Department
 of Corrections. Thus prolonging the illegal conditions of
 confinement for plaintiff and the other detainees at jail.
                                      15
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 21 of 38 PageID: 21



       105. The documents which plaintiff asserted in paragraph
 104 supra, are those identified as jail inspections, request
 for exemptions, grants of exemptions, reinspections and
 interdepartment communications addressing, these matters found
 as (statutory) codified rule N.J.A.C. 10A:31-l.5(c).

     106. Defendants by their employee John Falvey, Esq., have
 possession of exaustive documents that support plaintiff's claims
 of illegal conditions of confinement and used same documents
 to obfuscate (substantive) review of the illegal conditions
 of confinement at jail.

      107. John Falvey, Esq., is an attorney employed by defendant
 Lanigan, as in house counsel to control O.P.R.A. access to and
 (form) of (records) that (expose) defendant Sessomes, Hicks
 and Lanigan's (actual) knowledge of and (acquiescence)  to
 ongoing illegal conditions of confinement at the jail (well
 prior) to and specifically 12/16/2015 -10/27/2016.

      108. John Falvey has provided plaintiff, as of December
 2017, with well over 1200 documents pursuant New Jersey Open
 Records Act; and identified and (withheld) more than 2000 pages
 tha~ are proofs of misfeasance and malfeasan~e (patterns) between
 defendants Lanigan, Hicks, and Sessomes and defendants Scholtz
 et al, at jail, (that continued illegal conditions).

      109. Defendants who are Freeholders are currently and at
 times relevant to this complaint and the conditions of
 confinement complained of here, have been directly responsible
 for continuing or refusing to correct prior freeholders -
 decades long - intentional withholding critical monies that
 the jail needed to: repair and maintain boilers, roof system,
 mechanical infrastructure and overcrowding the jail!

      110. Defendants who are Freeholders as cited in 109 supra
 were additionally responsible for refusing to approve jail
 requests for funding necessary to purchase goods and services
 to support the proper lawful running of the jail in areas -
 (10A:31, through its mandated rules) - of cell cleaning supplies,
 library books, law library materials, adequate living conditions
 for mentally ill detainees, etc.

      111. Defendants, who are freeholders cited in 109 Supra
 (knowing) that illegal conditions were occurring for over (IO)
 years at the jail that has been mentioned in this complaint,
 took no action to correct these conditions, were deliberately
 indifferent to the proximate constitutionally volitive conditions
 of confinement resulting therefrom and the decay of the jail
 that they were charged with maintaining.

      112. So that plaintiff is clear as to facts that support
 this complaint as attaches to defendants freeholders; please
 take notice the jail is (provided) or not (provided) material
                                 16
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 22 of 38 PageID: 22



 sustenance by control of funding, the law directs them to
 properly allocate, to maintain the jail.

      113. Plaintiff upon learning that defendants freeholders
 were withholding funding to the jail began writing letters to
 them explaining in exact detail the conditions of confinement
 described supra; (3) letters that were never answered.

      114. On 5/25/2016, defendant McDonnell smiled as he stated,
 "Did you think your complaint letters to freeholders were going
 to change anything for you here?" This occurred at church. When
 I asked him how he knew, he only smiled.

      115. It became clear to plaintiff that the jail was
 monitoring and probably diverting complaints attempting to expose
 the illegal conditions of confinement at the jail.

      116. Please take notice that I never told anyone at jail
 that I wrote or was going to write complaint letters to the
 defendant(s) freeholders, nor were they shown to camera.

      117. Plaintiff wa~ not allowed to access the desk or shelf
 inside the cell as the two other detainees were using the
 amenities and (3) of the cellmates had sever psychological
 problems, they were violent and plaintiff was in continual fear
 of being assaulted inside his cell.

      118. Plaintiff suffered a great deal of physical and mental
 pain, and stress that has left a lasting imprint on his physical
 and mental state of being as a direct result of the illegal
 unconstitutional cumulative conditions of confinement at the
 jail 12/16/2015-11/16/2016.

      119. On 10/27/2016, plaintiff was sentenced to New Jersey
 Department of Corrections, for 17 years for theft of jewelry
 in excess of $75,000.

      120. On 11/16/2016, defendant T. Case came to the jail
 to transport plaintiff to New Jersey Department of Corrections
 Assignment Facility known as C.R.A.F.

      121. Upon entering jail, defendant T. Case, looked at
 plaintiff and (4) 12 inch high tied bundles of legal materials
 and stated "you cannot take any of your legal work, not one
 piece of paper." He stated he was "following orders."

      122. Just prior to plaintiff being forced into the C.R.A.F.
 transport van, defendant T. Case while inside driver section
 of transport van used his cell phone to confer about plaintiff's
 legal materials and after that cell phone call he stated "NO!
 he gets (none) of his legal work." This was witnessed by (4)
 inmates inside the van and defendant T Case's partner.

                                      17
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 23 of 38 PageID: 23


      123. Defendant T. Case and (unknown defendant) he called
 on his cell phone 11/16/2016, on or about 9:15am, did act under
 orders, or in concert with same, to deprive plaintiff of (all
 access to all written legal material) ~ithout any just or lawful
 regulation, plaintiff has learned that D.O.C. transport officers
 have a practice of illegal withholding legal materials without
 official authorization.

      124. When defendant T. Case and unknown person withheld
 all access and possession of said legal materials they deprived
 plaintiff all access to written private logs, legal work product,
 trial discovery, evidence, phone numbers, addresses, personal
 letters, complaints and grievances and evidence for civil law
 suit 42 USC 1983; law books.

      125. Plaintiff wrote grievances specific to aforementioned
 legal work and withholding of it as described in paragraphs
 120-124 herein with New Jersey State Prison, East Jersey State
 Prison, South Woods State Prison and defendant Gary Lanigan,
 and his agents and "corrections ombudsman"; all refused to do
 anything whatsoever.

      126. At trial on this matter (withheld legal materials)
 plaintiff will show exaustive, well articulated complaints
 showing times and dates and place and specific legal materials
 being withheld, and every person (so informed) acted as if in
 a conspiracy to hide the matter, further extending the
 deprivation.

      127. Unknown to plaintiff and defendants T. Case, Gary
 Lanigan and unknown employee of D.O.C., Judge Charles A. Delehey,
 on 11/22/2016, ordered jail not to throw out any of the legal
 materials and to forward to plaintiff once he was classified;
 research by plaintiff shows that a pattern of denial of all
 legal materials by C.R.A.F. transport did and to this day
 continue to occur.

      128. Despite being classified on or about 11/22/2016, and
 being sent to New Jersey State Prison by 11/23/2016, defendants
 without any due process and in violation of lawful un-appealed
 Superior Court Judge order, still refused to provide plaintiff
 any access to his legal materials.

      129. On 11/23/2016, defendant Scholtz, knowingly and
 willfully disregarded Judge Delehey's 11/22/2016, court order
 to send plaintiff the aforementioned legal materials as described
 in paragraph 128 and refused to forward said legal materials
 to either New Jersey State Prison, East Jersey State Prison
 or South Woods State Prison; (court order# 12-2986).

      130. On June 6, 2017, '(197) days of illegal unconstitutional
 withholding of aforementioned legal materials ended when
 plaintiff received the aforementioned legal materials in the
                                     18
     Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 24 of 38 PageID: 24

·.
     mail room of South Woods State Prison; sent by public defender.

          131. Plaintiff also filed O.P.R.A. requests for records
     of defendant Lanigan that authorized withholding legal materials;
     his agent, Attorney John Falvey, refused to provide a single
     document showing it to be lawful for defendants to withhold
     legal materials as has occurred here.

          132. The mental stress and headaches suffered by plaintiff
     by prolonged withholding of legal materials is a punishment
     and extreme cruelty in excess and separate to the otherwise
     lawful sentence and punishment envisioned by Judge Charles A.
     Delehey (sentence) handed down 10/27/2016, under indictment
     # 13-06-00659-I

          133. Plaintiff contacted corrections ombudsman, Defendant
     Lanigan by letters and by electronic "kiosk" mail and attorney
     general seeking the immediate return of aforedescribed legal
     materials and all.his efforts were ignored and once specifically
     addressed as in the case of ombudsman; who pretended they had
     no jurisdiction; even though facts will prove otherwise.

          134. All efforts to have defendants return said legal
     materials occurred starting November 16, 2016, and ending
     6/6/2017.

          135. When Defendant Scholtz, refused to follow Judge
     Delehey's 11/22/2016, order the New Jersey Burlington County
     Public Defender's Office Attorney Anthony Aldorasi III, and
     Appellate Section Attorney Jodi Ferguson, were able to access
     the jail to pick up said legal materials.

           136. Defendant Scholtz intended and did succeed in depriving
      plaintiff of access to his legal materials after being ordered
      by Judge Delehey to provide such access.

          137. Plaintiff possesses official Department of Corrections
     documents-that in addition to those 2000 withheld documents
     (see paragraph 108 supra)-signed by defendants Scholtz, Lanigan,
     Sessomes and Hicks, that (show) personal knowledge of the illegal
     jail conditions going back over 5 years.

           138. Defendants Scholtz, Lanigan, Sessomes and Hicks, acted
     as a unified team that functioned to rubber stamp documents
     so that they would give appearance of scrupiously following
     procedure while actually actively as a team (perpetuating in
     perpetuity) the same pretend jail inspections, reinspections,
     rule exemptions with supporting memorandums, forms and documents
     utilized by their predecessors (to deceive).

           139. This complaint by signed documents, belonging to
      defendants, alleges: (systemic corruption), born of status quo,
      greed, union pressure, all at the direct detriment of the
                                      19
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 25 of 38 PageID: 25



plaintiff and plaintiff's class.

     140. Plaintiff is not an attorney, but states here that
he has carefully reviewed entire facts he knows and witnesses
he believes will be deposed and by documents he anticipates
access directly, or yet to be assigned counsel will be accessed
too directly, all together it is probable that the New Jersey
and or United States, Attorney General, (may) find extant
sufficient evidence upon which criminal R.I.C.O. charges would
be appropriate against defendants Scholtz, Lanigan, Sessomes
and Hicks if not even more persons unnamed herein, yet to be
identified.

     141. Plaintiff believes paragraph #140 to be true because
every written complaint made against the jail was never answered;
a systemic practice at the jail.

     142. Further, complaints made to United States Department
of Justice, (civil rights division) (A.D.A.) 3 pages on 2/29/2016
and again on 8/3/2016, (3 page copy of 2/29/2016 complaint)
with 5 page letter of additional evidence naming ~11 persons
at jail and New Jersey Department of Corrections who were
violating my rights under A.D.A. These were never responded
to either.

     143. Plaintiff's disability as alleged in paragraphs 26-118
was intentionally ignored, and when he complained was retaliated
against by prolonged mistreatment by defendants Scholtz,
McDonnell, Larkins and Leith, not to mention (fake) disciplinary
charges.

     144. Defendants Lanigan, Sessomes, Hicks, Scholtz,
McDonnell, Larkins and Leith, were all made aware orally and
or in writing, and by digital camera of complaints. grievances
and complaints and grievances being thrown away or diverted
and took no action of any kind beyond their individual and or
collective activities to (conceal) the complaints, grievances.

      145. On or about 1/8/2016, Attorney Anthony Aldorasi III,
visited   plaintiff at the jail and advised plaintiff to allow
him to keep a copy of signed petition (signed by 36 detainess
in E-unit) and at that time took possession of it and informed
plaintiff that he knew defendant McDonnell very well and he
felt certain plaintiff's (safety) would be questionable if he
submitted more complaints.

     146. Attorney Aldorasi promised to personally deliver the
complaint to defendant McDonnell after plaintiff explained to
him some one was blocking any complaints from being answered);
he told plaintiff he had personally (delivered) the 12/31/2015
complaint, (see paragraph 56).

      147. The petition Attorney Aldorasi -processed on
                                 20
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 26 of 38 PageID: 26



 petitioner's behalf was signed by 36 detainees on the plaintiff's
 unit. (E Unit). Each signee and plaintiff wrote in exact complete
 detail restating the facts mentioned in this compla~nt that
 comprise those unconstitutional, illegal conditions of
 confinement that were suffered by the class of detainees
 plaintiff was a part of.

      148. From intake at medical on 12/17/2015, through to
 present (this section of complaint 12/22/27). Plaintiff has
 been in the custody of either defendants Scholtz or Lanigan,
 continuously, and each defendant possesses the medical history
 of plaintiff's disabilities.

      149. Each defendant: Scholtz, Lanigan, Sessomes, Hicks,
 McDonnell, Larkins and Leith have attended professional training
 seminars that directly informed them that cumulative ongoing
 condition of confinement volitive of A.C.A. core jail standards
 and statutory N.J~A.C. 10A:31 minimum standards would violate
 the constitutional rights and dignity of detainees at the jail.
 Such conditions that punished me.

      150. Defendants freeholders and Scholtz have acted against
 the lawful interests .of plaintiff, plaintiff's class and public
 of Burlington County when they planned out and then in
 furtherance of the plan (conspiracy) did overload the design
 capacity of the jail by making deals with other New Jersey County
 Adult Detention facilities whereby for money they would house
 detainees from those jails then manipulate documents to hide
 their activities and illegal conditions at jail.

      151. Plaintiff will prove at trial what he alleges are
 facts in paragraphs 149 and 150 supra.

       152. Each defendant-restating paragraphs 149 and
 150-know/knew with their training and learned on the job
 experience the physical and mental damages their acts and
 omissions described in this complaint would do to plaintiff's
 detriment; and the class of detainees at the jail similarly
 situated juxtaposition to plaintiff. Which will be shown to
 be genuine privations and hardship over an extended period of
 time.

      153. Defendant Lanigan controlled all finance at New York
 City Riker's Island, for 9 years and is an expert in manipulating
 and understanding every single component of running a county
 jail. Defendant's Scholtz's jail.

      154. Defendant Lanigan has special training that makes
 him one of the foremost experts in· the United States, that allows
 him to know when inspection reports, reinspection reports (show
 patterns) of continual misfeasance and or non-feasance at
 defendant Scholtz's jail.

                                      21
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 27 of 38 PageID: 27



      155. Defendant Lanigan is (shown) by documents he possesses
 (required by New Jersey Statutes). To have made intentional
 well thought out (tactical decisions) to utilize his expertise
 in (assisting) defendant Scholtz (and her predecessors) to
 participate in producing official Department of Corrections
 and state and county (Burlington) documents that are
 (manipulated) with intent of hiding the pattern of overcrowding
 and (resulting) illegal conditions of confinement at the jail.
 (He personally signed his approval.)

      156. Defendants Sessomes, Hicks and other unknown employees
 at Central Office of New Jersey Department of Corrections also
 acted together with defendant Lanigan as stated in paragraph
 155 as if fully restated here. (They personally signed their
 approval).

      15 7. De'f endan ts Mc Donne 11, Larkins a·nd Leith have been
 vested absolute authority by defendant Scholtz in the day to
 day operations of the jail that gave them the power to stop
 the illegal conditions of confinement allegerl in this complaint.
 12/16/2015-11/16/2016.
      158. Defendants McDonnell, Larkins and Leith acted outside
 the intent of the statutory authority governing their day to
 day operation of the jail by refusing to correct cumulative
 illegal conditions alleged in this complaint.

      159. All defendants took (oaths) to follow laws of the
 State of New Jersey and follow the constitutions of Ne~ Jersey,
 New Jersey Civil Rights and (United States Constitutions).

      160. All defendants have (violated) the oaths described
 in supra., and have violated the public trust and violated ethics
 laws of the State of New Jersey and Department of Corrections.
 See facts paragraphs 159-162.

      161. Defendants T. Blanga and P. Blango are given absolute
 authority by defendants Scholtz, McDonnell, Larkins and Leith
 in specific areas of the jail concerning day to day operations,
 conditions of confinement.

      162. Defendants T. Blanga and P. Blanga worked in concert
 with defendants McDonnell, Larkins and Leith allowing and
 continuing aforementioned illegal conditions of confinement
 and caused privations of punishment.

      1630 Defendants Lanigan, Sessomes~ Hicks, Scholtz,
 McDonnell, Larkins, Leith, P. Blango and T. Blango each
 individually and or collectively had direct knowledge that
 complaints of conditions of confinement at jail filed by required
 statutory grievance procedure established at jail were "All"
 (intentionally) suppressed. Leaving plaintiff no redress.

                                      22
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 28 of 38 PageID: 28


     164. Plaintiff was provided documents by O.P.R.A. request
that will show a jury "direct knowledge/participation" by
official D.O.C. documents fully supporting the facts asserted
in paragraph 163 supra.

     165. Inside the 1200 O.P.R.A. documents provided by John
Falvey is proof that (inspections) done at the jail by
defendants(s) Lanigan,· Sessomes, Hicks employees Lt. Glenn
Eisinger, Christel Jackson-Lee, Lt. Tara N. Thomson, Mark Farsi,
deputy commissioner and Lt. Samuel Beaver, were (falsified)
to hide the constitutionally volitive conditions of confinement
for years 2011, 2012, 2013, 2014, 2015 and 2016.

     166. Upon information and belief the jail and D.O.C. has
been illegally conducting jail operations and inspections as
described in paragraph 165 supra since approximately 1994;
discovery will establish these asserted facts for the jury.

     167. This complaint while being very specific to facts,
some of which, unique to only (plaintiff's) conditions of
confinement; (overall) there is extant those conditions of
confinement, that clearly effect thousands of past, present
and future detainees at the "jail", in addition to plaintiff.

     168. The (class) so effected by the illegal conditions
of confinement this complaint speaks to are (predominantly)
lacking funds, education and are fluid. Also the question of
law and facts are (common) to my claims, (laws) and (facts)
and the defenses to such claims are common between this plaintiff
and such class and defendants.

     169. Where applicable, (certain requested relief sought
infra) will he seeking among compensatory and punitive damages,
injunctions (that this court may find) are common questions
also "predominate" over such class and that a class action is
(superior) to other methods of handling the controversy.

     170. Plaintiff asks this court to allow the jury to weigh
this comp1aint in the light most consistent with the (truth
the facts asserted herein are enveloped by) plaintiff's complaint
is (eclipsed) by thousands of detainees past, present and future
whose rights are best protected by certifying this complaint
as a class action: and the assignment of an attorney that has
the means to represent the class.

      171. On 12/19/2017, my criminal appeal attorney-(indictment
# 13-01-0659, appeal docket # A-1868-16)-public defender
assistant Raquel Y. Bristol sent me the original copy of the
(7) page 1/8/2016, class action complaint cited supra at
paragraphs 145, 146 and 147, that public defender Anthony
Aldorasi, III, took possession of at the jail as discussed supra;
(on or about 1/8/2016).

                                     23
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 29 of 38 PageID: 29



      172. That said, (7) page complaint dated 1/8/2016, was
 withheld all this time from plaintiff; now plaintiff will list
 those detainees that signed the complaint, all (36) of them,
 that gave notice to the jail their intent to be part of a 42
 USC 1983 complaint asserting claims that their 8th and 14th
 amendment rights were violated by the condition of confinement
 extant at the jail. These (36) detainees are listed on the (7)
 page complaint aforementioned:

 Detainee name         jail number      days in jail as of 1/8/2016

 Darius Gittens        103639           23
 James Couch           102020           375
 Don M. Cortes         106101           80
 Mark Begley           108281           192
 Jeffery Bradford      45994            105
 Anthony Jones         36982            180+5 years
 David Clarke          107309           180
 Jose Vazquez          107505           372
 Christopher Eller     94994            728
 Jahyquiriz Ramos      108363           168
 Juan Valencia         106749           549
 Daniel Martinez       107023           489
 Karmer Earley         108068           240
 Brian Robinson        GC00518          180
 Kodei Lawton          103772           106
 Freddie Woodard       108471           150
 Kyle Crosby           107569           360
 Toney Holliday        99441            1945
 Abdullah Sheriff      106252           683
 Roy Isola             GC00528          180
 Howard Jones          39725            23
 Charles Jackson       107464           180
 Jamaal Tyus           109080           40
 Joseph Elsey          96780            45
 Jeffrey Adams         GC00542          115
 Tyrone Aziz           31739            760
 James McGrath         10857            150
 Willie Hayman         19269            330
 Lamar Keese           78483            150
 Rodney Coney          83885            365
 David Finlaw          GC0041           700
 Edward McTaque        108978           180
 Tyrell Fitpatrick     93687            485
 Michael Mimms         103984           120
 Marcus Garvan         107179           575
 Daniel Martinez       107003           485

                             Claims for Relief

      173. Plaintiff realleges and incorporates by reference
 paragraphs (1) through to (173) as if fully restated as facts
 for each of the following claims for relief:
                                 24
..
-    Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 30 of 38 PageID: 30


           (A) Failure To Protect: Defendant Lanigan under clear
      (unequivocal) statutory (laws) that are specifically enacted
      as a tool of oversight, enforcement and a tool for investigation
      where (uncorrected illegal), unconstitutional (cumulative)
      conditions of confinement are extant at county adult detention
      facilities as provided in New Jersey Statute (Department £f
      Corrections Act of 1976) 30:Bl-6(h). Given this authority but
      when providea-8°pecific actual notice of the illegal conditions
      of confinement at Burlington County Adult Detention Center took
      no action to bring those illegal conditions to an end and require
      the "jail to comply with N.J.A.C. IOA chapter 31, and then
      together with Defendants Sessomes and Hicks did then cover up
      those conditions year after year; specifically 2015 and 2016
      did cause plaintiff's damage in violation of the First, Eight
      and Fourteenth Amendments to the United States Constitution.

           (1) Supplemental (pendent) jurisdiction: New Jersey
      Constitution Article 1. Sections 5 and 7 were violated under
      the same predicate articulated in (A) supra.

           (2) Supplemental (pendent) jurisdiction: New Jersey Civil
      Rights Act (C.R.A), N.J., Stat. Ann. 10:6-2(a),(b),(c),(d),(e)
      and (f) were violated and applicable under the same predicate
      in (A) supra.

           (3) Supplemental (pendent) jurisdiction: New Jersey Statute
      official misconduct N.J.S., 2C:30-2(6) as violated and applicable
      under the same predicate as (A) supra.

           (4) Supplemental (pendent) jurisdiction: New Jersey Statute
      Crime of Pattern of Official Misconduct N.J.S. 2C:30-7(a), was
      violated and applicable under the same predicate as (A) supra.

            (B) Deliberate Denial .2i_ All Legal Materials: Defendants
      T. Case and unknown employee did with malice and afterthought
      and without any New Jersey or Federal law and without exigent
      circumstance and or in a conspiracy with unknown New Jersey
      State Department of Corrections employees, forced plaintiff
      to abandon every single piece of legal material in his possession
      with express intention of ~ermanently obstructing, such legal
      materials possession without any due process in violation of
      the United States Constitution First and Fourteenth Amendments.

            (I) Supplemental (pendant) jurisdiction: same as (A), (1)
      supra.

            (2) Supplemental (pendent) jurisdiction: same as (A), (2)
      supra.

            (C) Failure to Protect Ongoing Deliberate Denial ~ all
      Legal Materials: Defendant Lanigan after becoming directly
      informed that Central Transportation Unit was and is continuing
      to obstruct plaintiff and other prisoners possession of legal
                                      25
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 31 of 38 PageID: 31



 materials being transferred from Burlington County Detention
 Centers and other county detention centers to C.R.A.F., knowing
 that he had not issued and that no predecessor issued lawful
 authorization to so obstruct legal materials possession by
 transferring detainees to C.R.A.F., took no action to protect
 the continuing systemic pattern of such legal materials
 obstruction without any due process of law did violate the United
 States Constitution First and Fourteenth Amendments.

      (1) Supplemental {pendent) jurisdiction: same as (A),(l)
 supra.

      (2) Supplemental (pendent) jurisdiction: same as (A),(2)
 supra.

      (3) Supplemental (pendent) jurisdiction: same as (A),(3)
 supra.

      (4) Supplemental (pendent) jurisdiction: same as (A), (4)
 supra.

      (D) Failure 1.2. protect: Defendant Scholtz did foster
 cumulative conditions of confinement for 20-21 1/2 hours each
 day with (3) detainees per cell with less than (9) square feet
 of (unencumbered) space to walk in cell per detainee, together
 with aforementioned conditions of confinement caused plaintiff
 to suffer genuine privations and hardships that was for such
 a long duration that plaintiff was unconstitutionally punished
 as an unsentenced detainee and cruel and unusual punishment
 for that time he was deemed sentenced in violation of the Eight
 and F~urteenth Amendments to the United States Constitution.

      (1) Supplemental (pendant) jurisdiction: same as (A),           (1)
 supra.

      (2) Supplemental (pendent) jurisdiction: same as (A),           (2)
 supra.

      (3) Supplemental (pendent) jurisdiction: same as (A), (3)
 supra.

      (4) Supplemental (pendent) jurisdiction: same as (A), (4)
 supra.

      (E) Deliberate denial of all legal materials access: in
 violation of Judge Delehey's 11722/2015 court order by Defendant
 Scholtz violated the United States Constitution First and
 Fourteenth Amendments.

      (1) Supplemental (pendent) jurisdiction: same as (A),           (1)
 supra.

       (2) Supplemental (pendent) jurisdiction: same as (A),          (2)
                                      26
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 32 of 38 PageID: 32



 supra.

      (3) Supplemental (pendent) jurisdiction: same as (A), (3)
 supra.

      (4) Supplemental (pendent) jurisdiction: Judicial Contempt
 N.J.S. 2C:29-9.(a).

      (F) Deliberate indifference: Defendants Scholtz, Leith,
 McDonnell, Larkins, T. Blanga and P. Blanga, all had actual
 knowledge of Plaintiffs being forced to sleep on the floor
 without a pillow for extensive period of time which caused
 plaintiff to be in great physical distress and long sleepless
 periods which caused great mental anguish and were deliberately
 indifferent to the pain suffered by the plaintiff in violation
 of the Eight and Fourteenth Amendments to the United States
 Constitution.

      (G) Americans with Disability Act: Defendants Scholtz,
 Leith, McDonnell, Larkins, T. Blanga and P. Blanga were given
 direct Notice that Plaintiff was disabled receiving SSI since
 2014 and unable to function in most use of shoulders and knees
 did refuse to make any effort to make sleeping housing to
 reasonably accommodate his disability which resulted in plaintiff
 being forced to sleep on the floor without pillow in great
 physical pain and mental anguish in violation of the Americans
 with Disability Act.

      (H) Retaliation.: Defendant McDonnell issued a false
 misbehavior report in (retaliation) against plaintiff's efforts
 to complain about illegal cumulative conditions of confinement
 that was causing plaintiff and many detainees unnecessary pain
 and genuine privations and hardships, this violated the United
 States Constitution First and Fourteenth Amendments.

      (I) Unconstitutional disciplinary hearing: Defendant: P.
 Blanga, disciplinary hearing officer intentionally conducted
 an   unconstitut~onal   hearing on retaliatory charges by allowing
 no witnesses, no documentary evidence, presided at hearing upon
 which his own twin brother T. Blanga was alleged to have
 witnessed the alleged misbehavior and at conclusion of hearing
 placed in the disposition a statement purporting to be material
 facts in support of guilt (not) found (anywhere) in the record.
 When taken together, plaintiff's hearing violated clearly
 established procedural rights and safeguards that violated
 plaintiff's rights under the United States Constitution
 Fourteenth Amendment.

      (J) Cover .!!.P. review £1 illegal disciplinary hearing:
 Defendant Leith, was presented on appeal, by plaintiff facts
 establishing the documents comprising the record-(The face of
 the record)-that the hearing was clearly not compliant with
 N.J.A.C. lOA: Chapter 31 and violated (clearly established)
                                      27
     Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 33 of 38 PageID: 33

•.
      minimum constitutional requirements, nevertheless he affirmed
      the illegal hearing in violation of procedural and substantive
      due process of law. This violated the United States Constitution
      Fourteenth Amendment.

            (K) Illegal disciplinary Confinement: Defendants Scholtz,
      Leith, McDonnell, Larkins, T. Blanga and P. Blanga each directly
      agreed and did create standing orders to be followed by all
      disciplinary housing unit "C" officers (prohibiting) all out
      of cell exercise, all clean clothing, all law library access,
      all access to reading books and law books during plaintiff's
      confinement at that disciplinary unit in violation of the United
      States Constitution First and Fourteenth Amendments.

           (L) Failure to Protect: Defendants Lanigan, Sessomes and
      Hicks after being~irectly informed of the unconstitutional
      disciplinary confinement, of detainees at the disciplinary unit
      did sign off on those conditions taking no action to protect
      plaintiff and other detainees from those illegal conditions
      and deprivations in the disciplinary unit in violation of the
      United States Constitution First and Fourteenth Amendments.

           (1) Supplemental (pendent) jurisdiction: same as (A), (1)
      supra.

           (2) Supplemental (pendent) jurisdiction: same as          (A), (2)
      supra.

           (3) Supplemental (pendent) jurisdiction: same as (A), (3)
      supra.

           (4) Supplemental (pendent) jurisdiction: same as (A), (4)
      supra.

           (M) Deliberate indifference: Defendants Board of Chosen
      Freeholders, Mary Ann O'Brien, Bruce Garganio, Aimee Beigard,
      Joseph Donnelly and Joanne Schwartz, intentionally withheld
      funding and oversight at Burlington County Adult Detention Center
      ("Jail"), with reckless disregard and deliberate indifference
      to horrific cumulative conditions of confinement at the "jail"
      that has caused serious genuine privations and hard~hips for
      plaintiff and thousands of detainees and sentenced prisoners
      in violation of the United States Constitution First, Eight
      and Fourteenth Amendments.

            (1) Supplemental (pendent) jurisdiction: New Jersey Civil
      Rights Act (C.R.A.), N.J. Stat. Ann. 10:6-2(a),(b),(c),(d),(e)
      an<l (f) were violated and applicable under the predicated in
      (M) supra.
            (2) Supplemental (pendent) jurisdiction: New Jersey
      Constitution Article 1 sections 5 and 7 were violated under
      the same predicate articulated in (M) supra.

                                           28
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 34 of 38 PageID: 34



      (3) Supplemental (pendent) jurisdiction" New Jersey Statute
 "Official Misconduct" N.J.S. 2C:30-2.(b) has been violated under
 same predicate in (M) supra.

      (4) Supplemental (pendent) jurisdiction: New Jersey Statute
 "Crime of Pattern of Official Misconduct" N.J.S. 2C:30-2.(b)
 has beenviolated under same predicate in (M) supra.

      (N) Deliberate Obstruction of all Written Complaints,
 Grievances and Out Going U.S. Mail Addressed to Freeholders,
 ADA and New Jersey Department of Corrections: Defendant Scholtz,
 Leith, McDonnell and Larkins each had direct notice that (No)
 complaint written by detainees about horrific cumulative
 conditions of confinement at "jail" were processed answered
 or resolved no matter the (form) of the complaint this
 obstruction denied plaintiff and thousands of detainees at "jail"
 all meaningful redress; the right to petition government utterly
 obstructed this violated the United States Constitution First
 and Fourteenth Amendments.

       (O) Protected Speech: Plaintiff had a right to petition
 for redress through established "jail" regulations: U.S. mail,
 interdepartment mail, intradepartmental mail, truck mail and
 grievances. When jail employees obstructed (all) redress to
 cover up the cumulative conditions of confinement at the "jail"
 defendant McDonnell reviewed security cameras footage realized
 plaintiff as becoming successful at preserving evidence of the
 jail conditions and cover up. Through showing camera the
 documents seeking redress of .said conditions he utilized
 (official) government forms (disciplinary and pre-hearing
 confinement) to punish and suppress plaintiff's protected speech
 by falsely accusing plaintiff of "tampering with a security
 devise." This violated plaintiff's rights secured by the United
 States Constitution First and Fourteenth Amendments.

      (1) Supplemen.tal (pendent) jurisdiction: is the same cited
 in (M), ( 1) supra.
      (2) Supplemental (pendent) jurisdiction: is the same cited
 in (M), (2) supra.

      (3) Supplemental {pendent) jurisdiction: is the same cited
 in (M), (3) supra.

      (4) Supplemental (pendent) jurisdiction: is the same cited
 in (M), (4) supra.

      (P) 3 Detainees in cell with less than 9 square feet
 unencumbered floor space for 2'Q.:21--r72 hO'lir's-each day: defendants
 Scholtz, Lanigan, Sessomes, Hicks, Mary Ann O'Brien, Bruce
 Garganio, Aimee Beigard, Joseph Donnelly and Joanne Schwartz,
 all had direct knowledge that forcing de~ainees into a cell
 (20-21 1/2 hours) each day over extended periods of time with
                                      29
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 35 of 38 PageID: 35



 less than (9) square feet unencumhered floor space (per) rletainee
 would cause ~xtreme genuine privations and hardships and allowed
 this to go on year after year with (deliberate indifference)
 to such extreme t~ndition of confinement of detainees. awaiting
 trial and sentencing,' including plaintiff,' (did) violate the
 established constitutional norms violated clearly established
 New Jersey Statutory Law N.J.A.C. 10A:31-3.6(h),(c)and(g). And
 failure to stop such condition of confinement, were not
 authorized (except in emergency situationi) were not
 (legitimately) related to "legitimate governm~nt purpose" and
 if legitimate, were excessive in relati.on to that. government
 purpose. This violated ~learly understood rights of detainees
 not to be detained under such conditions that amounts to be
 (punishment) in violation of th~ United States Constitution
 Fourteenth Amendment.

      ( 1) Supplemen.tal (pendent) jurisdiction: same as in (M) ,
 (1) supra.

      (2) Supplemental (pendent) jurisdiction: same as in (M) '
 (2) supra.

      (3) Supplemental (pendent) jurisdiction: same as in (M) '
 (3) supra.

      (4) Supplemental (pendent) jurisdiction: same as in (M),
 (3) supra.

      (Q) U. S".• Mail Box for outgoing mail: There exists (NO)
 compelling ~overnment interest not any threat to safety or
 security in (continuing to refuse) to provide a proper secure
 mail box for (outgoing· mail), to avoid continued ongoing practice
 at Burlirigton County Adult Detention Center ("jail") of
 obstructing delivery of outgoing mail at "jail" should be placed
 into a secured mail bo~ and picked up by specific trained
 employee (civilian) who is not a corrections officer. The mail
 should be sorted and placed in secure.location for delivery
 to intended recipients under ·a secure tamper proof digital camera
 monitoring system. This must be done to protect detainees United
 States Constitution First and Fourteenth Amendment Rights.

                              Relief Reguested

      Wherefore, ·Plaintiff reqtiests that this Honorable Court
 and, a jury gr.ant. the fallowing relief:

      (A) Declare that defendants Scholtz, Leith, McDonnell,
 Larkins, T. Blanga, P. Blanga, Mary Ann O'Brien, Bruce Gaiganio,
 Aimee Beigarrl, Joseph Donnelly, Joanne Schwartz, Lanigan, Hicks,
 Sessomes, Cise and unknown employee violated plaintiff's First,
 Eight and Fourteenth Amendment rights as fully described in
 the claims for relief sections of this complaining sections
 (A)-(P) supra.
                                  30
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 36 of 38 PageID: 36



      (B) declare that secular claims asserted .concerning
 obstruction of outgoing mail violates the First an<l Fourteenth
 Amendments of United States Constitution as fully described
 in claims for relief section of this complaint, section (Q),
 and issue injunctive relief requested therein.

      (C) Declare that secular claims asserted concerning
 obstruction and deprivation of legal material by New Jersey
 State Department of Corrections Central Transport Officers
 transporting d~tainees from Burlington County Adult Detention
 Center and other county detention centers to C.R.A.F., is a
 pattern of constitutionally volitive obstruction and deprivation
 as fully described in claims for relief (B) and (C) supra and
 issue an injunction prohibiting such obstruction and deprivation
 that.violates the First and Fourteenth Amendments to th~ United
 States Constitution.

      (D) Declare the retaliation that Defendant McDonnell took
 against plaintiff as fully described in claims for relief (H)
 supra violated the First anrl Fourteenth Amendments to the United
 States Constitution.

      (E) Declare the disciplinary hearing conducted by defendant
 P. Blango as described in claims for relief JI) supra to have
 violated the Fourteenth Amendment to the United States
 Constitution.

      (F) Declare the cover up of and review on appeal of the
 hearing by Defendant Leith. as fully described in claims for
 relief (J) supra to have violated the Fourteenth Amendment to
 the United States Constitution.

       (G) Declare the illegal disciplinary confinement conditions
 fostered by Defendants Scholtz, Leith, McDonnell, Larkins, T.
 Blango and P. Blanga as fµlly described in claims for relief
 (K) supra to have violated the First and Fourteenth Amendments
 to the United States Constitution.

      (H) Declare the failure to protect by Defendants Lanigan,
 Ses~omes and Hi~ks as fully described in claims for relief (L)
 supra to have violated the First and Fourteenth Amendments to
 the United States Constitutjon.

      (I) Declare the deliberate indifference by Board of Chosen
 Freeholders Mary Ann O'Br~en, Bruce Garganio, Aimee Beigard,
 Joseph Donnelly and Joanne Schwartz as fully described in claims
 for relief (M) supra to have violated the First, Eighth and
 Fourteenth Amendments to the United States Constitution.

      (J) Declare obstruction of all written complaints by
 Defendants Scholtz, Leith, McDonnell and Larkins a~ fully
 described in claims for relief (N) supra to have vi-0lated the
 First and Fourteenth Amendments to the United States
                                 31
Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 37 of 38 PageID: 37



Constitution.

     (K) Declare protected speech·retaliatory discipline by
Defendant  McDonnell as fully described in claims for relief
(O) supra to have violated the First and Fourteenth Amendments
to the United States Constitution.

     (L) Declare 3 detainees in cell 20-21 1/2 hours each day
with less than 9 square feet per detainee unencumbered floor
space over extended periods of time as fully described in claims
for relief (P) supra was due to deliberate indifference by
Defendants Scholtz, Lanigan, Sessomes, Hicks, Mary Ann O'Brien,
Bruce Gargariio, Aimee Beigard, Joseph Donnelly and Joanne
Schwartz violated the Fourteenth Amendment to the United States
Constitution.

      (M) Declare that in each section of claims for relief (A)-
(P) where supplemental (pendent) jurisdict~on claims that are
attached thereto to violate each statute and constitution and
civil rights act therein.

     (N) Declare that Americans with Disa.bility Act was violated
by defendants Scholtz, Leith, McDonnell, Larkins, T. Blango
and P. Blango as described in claims for relief (G) supra and
that this violated plaintiff's rights under that act.

     (O) Declare that New Jersey Civil Rights Act is proper
for supplemental (pendent) jurisdiction as asserted throughout
the claim for relief in this complaint and that this Civil Right
Act permit very similar claim as 42 USC 1983 damages and·
injunctions, attorney fee and costs may be sought.

     (P) Declare that failure to protect by Defendant Lanigan
as fully described in claims for relief (A) supra violated the
First, Eighth and Fourteenth Amendments to the United State
Constitution.

     (Q) Award compensatory damages for plaintiff's physical
and emotional (mental distress), pain and degradation and
punitive damages against each defendant; in the amount of
$300,000.00.

     (R) Consider class action status for this complaint should
this court find plaintiff's assertion of the appropriateness
of such status to have merit.

     (S) Assign an Attorriey to represent plaintiff and or class
action due to· the extreme impact this case will have for
thousands of past, present and future detainees confined at
the "jail".

       (T) Costs.   jury trial requested.

                                     32
      Case 1:18-cv-02519-RBK-KMW Document 1 Filed 02/26/18 Page 38 of 38 PageID: 38


           (U) Grant plaintiff such other relief as it may appear
      plaintiff is entitled to.

                                    Certification


           This (33) page complaint supra has been constructed by'
      my own hand (pro se) and I know it to be true and correct to
      my own knowledge and certify it to be so under 28 USC 1746.



                                         Respectfully Submitted,




                                         Darius Gittens, .Pro Se
                                         Dated I /$1/?,.f)f0
                                         SRI#875223E
                                         South Woods State Prison
                                         215 Burlington Rd. South
                                         Bridgeton, N.J. 08302



            The mailing address for the Defendants are as follow:

           (1) Burlington County Adult Detention Center: for Defendants
      Scholtz, Leith, McDonnell, Larkins, T. Blanga and P. Blanga.
      54 Grant St., Mount Holly, N.J. 08060.

           (2) New Jersey Department of Corrections: for Defendants
      Lanigan, Sessomes, Hicks, Case and unknown. Whittlesey Road,
      P.O. Box 863, Trenton N.J. 08625-0863.

           (3) Burlington County Board of Chosen Freeholders: for
      Defendants O'Brien, Gargino, Beigard, Donnelly and Schwartz,
      49 Rancocas Road, Room 123, P.O. 6000, Mount Holly N.J., 08060




,.,




                                           33
